Case 0:22-cv-60710-MGC Document 23 Entered on FLSD Docket 07/22/2022 Page 1 of 5




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO.: 0:22-CV-60710

  CHRISTOPHER GUARNIZO,

          Plaintiff,

  vs.

  THE CHRYSALIS CENTER, INC.,

        Defendant.
  ______________________________/

                                 JOINT SCHEDULING REPORT

          Counsel for Plaintiff, Christopher Guarnizo, and for Defendant, The Chrysalis Center,

  Inc., after having met and conferred, submit the following Joint Scheduling Report pursuant to

  Local Rule 16.1B(2):

  (A)     The Likelihood of Settlement

          Settlement will be explored in this case.

  (B)     The Likelihood of Appearance in the Action of Additional Parties

          None.

  (C)     Proposed Limits on Time

         i.To join other parties and to amend the pleadings: by August 29, 2022.

        ii.To file and hear motions: by February 27, 2023.

        iii.To complete discovery: by January16, 2023.




                                                      1

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Case 0:22-cv-60710-MGC Document 23 Entered on FLSD Docket 07/22/2022 Page 2 of 5




  (D)    Proposals for the Formulation and Simplification of Issues, Including the
         Elimination of Frivolous Claims or Defenses, and the Number and Timing of
         Motions for Summary Judgment or Partial Summary Judgment.

         None at this time.

  (E)    The Necessity or Desirability of Amendments to the Pleadings

         None anticipated at this time.

  (F)    The Possibility of Obtaining Admissions of Fact and of Documents,
         Electronically Stored Information or Things which will Avoid Unnecessary
         Proof, Stipulations regarding Authenticity of Documents, Electronically
         Stored Information or Things, and the Need for Advance Rulings from the
         Court on Admissibility of Evidence

         The parties will utilize admissions of fact and stipulations regarding authenticity of

  documents to avoid unnecessary proof.

  (G)    Suggestions for the Avoidance of Unnecessary Proof and of Cumulative

  Evidence

         None other than in (F), above.

  (H)    Suggestions on the Advisability of Referring Matters to a Magistrate Judge or
         Master.

         It is likely that motions concerning discovery, for costs, for attorneys’ fees, for sanctions or

  contempt, and other pre-trial matters (but not the trial on the merits) could be referred to a

  Magistrate Judge for resolution.

  (I)    A Preliminary Estimate of the Time Required for Trial.

         A Preliminary estimate of the time required for trial is three to four days by jury.

  (J)    Requested Date(s) for Conferences Before Trial, a Final Pretrial Conference
         and Trial

                                                    2

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Case 0:22-cv-60710-MGC Document 23 Entered on FLSD Docket 07/22/2022 Page 3 of 5




         1.    Trial – April 17, 2023
         2.    Pre-trial Conference – April 12, 2023.
         3.    Joint Pre-trial Stipulation – March 16, 2023
         4.    Motion in Limine deadline – February 27, 2023
         5.    Completion of Mediation – January 26, 2023

  (K)    Any Issues Regarding:

        1.    Disclosure, Discovery, or Preservation of Electronically Stored
              Information, Including the Form or Forms in which it Should be
              Produced

              The Parties agree that ESI likely exists that is subject to discovery or disclosure. Such
              ESI will be identified and preserved in native format; however, the initial production
              of such documents will be in .pdf or .tiff format unless specifically requested
              otherwise. The Parties agree that there is no obligation to make documents / ESI
              searchable which are not currently preserved in a searchable format.

              With regard to e-mails or searchable ESI for which either party has the technical
              capability to conduct a search, the parties shall agree on search terms that are
              calculated to lead to relevant evidence, including evidence which may not be
              admissible but is relevant or could lead to relevant evidence. The parties agree that
              such discussions may be used in connection with any motion to compel.

              In light of the ongoing national emergency concerning the COVID-19 pandemic,
              the United States District Court for the Southern District of Florida has issued
              general orders supporting video and teleconferencing for civil and criminal hearings
              in accordance with the applicable statutes and rules of the Judicial Conference of the
              United States. The parties stipulate that all depositions in this case within the next
              two (2) months will be conducted remotely via video conferencing (or telephonic
              conferencing if video conferencing is not reasonably available) until the Judicial
              Conference of the United States finds that emergency conditions due to the COVID-
              19 virus outbreak no longer materially affect the functioning of the Courts within the
              Southern District of Florida (and/or as further agreed by the parties). The deponent
              must appear via video, which will require an internet-enabled device with a
              microphone or camera, and a stable internet connection. The parties further
              stipulate that these depositions will be considered to have taken place in the Southern
              District of Florida. Other than as required by specifically designated court reporting
              personnel, all means of photographing, audio- or video- recording of these
              proceedings is prohibited. The parties will determine if there is a need to take live
              depositions after the two (2) month mark.


                                                  3

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Case 0:22-cv-60710-MGC Document 23 Entered on FLSD Docket 07/22/2022 Page 4 of 5




        2.    Claims of privilege or of protection as trial-preparation materials,
              including -- if the parties agree on a procedure to assert those claims
              after production -- whether to ask the court to include their agreement
              in an order under Federal Rule of Evidence 502

              If information called for during discovery is itself privileged, it need not be disclosed.
              However, the existence of the information and any non-privileged information
              called for must be disclosed in a privilege log. A privilege log shall be prepared with
              respect to all items withheld on the basis of a claim of privilege or work product
              protection, except the following: written communications between a named party
              and its trial counsel after commencement of the action filed. When a claim of
              privilege or work product protection is asserted, the party asserting the privilege or
              protection shall provide the following information with respect to each such item in
              the form of a privilege log: the type of item; the date of the item; the author of the
              item; whether or not the author is a lawyer; each recipient of the item; and the
              privilege asserted.

              If information is inadvertently produced in discovery that is subject to a claim of
              privilege or protection as trial-preparation material, the party making the claim may
              notify any party that received the information of the claim and the basis for it. After
              being notified, a party must promptly return, sequester, or destroy the specified
              information and any copies it has and may not use or disclose the information until
              the claim is resolved. A receiving party may promptly present the information to the
              court under seal for a determination of the claim. If the receiving party disclosed the
              information before being notified, it must take reasonable steps to retrieve it. The
              producing party must preserve the information until the claim is resolved.

              The parties will address the necessity of asserting claims of privilege or protection for
              disclosed trial-preparation materials when the issue becomes ripe.

        3.    When the parties have agreed to use the ESI Checklist available on the
              Court’s website (www.flsd.uscourts.gov), matters enumerated on the
              ESI Checklist

              The parties do not anticipate that the ESI at issue in this case will require the parties
              to utilize the ESI Checklist.


  (L)    Any Other Information that Might be Helpful to the Court in Setting the
         Case for Status or Pretrial Conference



                                                  4

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Case 0:22-cv-60710-MGC Document 23 Entered on FLSD Docket 07/22/2022 Page 5 of 5




         None at this time. There is no need for variance from the discovery limitations imposed

  by the Local Rules and/or the Federal Rules of Civil Procedure



         Dated this 22nd day of July 2022.



    s/Toussaint Cummings, Esq.                       /s Gary A. Costales
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                                                 5

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